                Case 1:23-cv-00013           Document 31    Filed 02/10/25     Page 1 of 2
                                                                                   FILED
                                                                                   Clerk
                                                                               District Court
 1                                                                            FEB 10 2025
 2                                                        for the Northern Mariana Islands
                                                          By________________________
 3                         IN THE UNITED STATES DISTRICT COURT (Deputy Clerk)
                           FOR THE NORTHERN MARIANA ISLANDS
 4
       PROSPERO A. ARMIA, NEMENCIO Q.                      Case No. 1:23-cv-00013
 5     DELEON, GIOVAN MALAZARTE,
 6
       IAN R. ALCOSEBA, RANIE E. ELESTIAL,
       RUDY B. NARAJA, VICTOR P. FRAGINAL,
 7     RAYMART PINEDA, JERRY TORTOR,
       JERRY VALLES, and EDMAR YANGYANG,                             FIRST AMENDED
 8                                                                 SCHEDULING ORDER
                               Plaintiffs,
 9
               v.
10
       RJCL CORPORATION dba RNV
11     CONSTRUCTION, HOMESMART
       CORPORATION dba BEST DEAL GENERAL
12     MERCHANDISE, PARAGON
       CONSTRUCTION dba COREPLUS
13
       CONSTRUCTION, WANDERVILLA
14     CORPORATION dba VILLAROYAL
       PAWNSHOP, RUEL R. VILLACRUSIS,
15     MICHELLE RUEDA, JANE RUEDA, and
       SHERWIN RESURRECTION,
16
                               Defendants.
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             The Court previously granted the parties’ Stipulated Motion to vacate the Scheduling
20
     Order. (ECF No. 16.) Subsequently, the Court ordered the parties to submit a proposed, revised
21
     scheduling order. (ECF No. 21.) After reviewing the proposed scheduling order with the parties
22
     at the Status Conference held on February 7, 2025, the Court now issues the First Amended
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     Scheduling Order with the following remaining dates and deadlines pursuant to Rule 16(b) of
24
     the Federal Rules of Civil Procedure:
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        1.     Motions to Amend Pleadings                         April 17, 2025
26
        2.     Status Conference                                  June 5, 2025, at 9:00 a.m.
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        3.     Fact Discovery Cutoff (completion date)            October 17, 2025
28      4.     Fact Discovery Motions Filing Deadline             October 30, 2025

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 1      5.    Expert Witness Disclosures                          November 7, 2025
 2      6.    Rebuttal Expert Witness Disclosures                 January 9, 2026
 3            Pre- settlement phone conference                    January 8, 2026, at 10:00 a.m.
        7.    before Magistrate Judge Heather L. Kennedy
 4
        8.    Settlement Conference before Magistrate Judge       January 29, 2026, at 9:00 a.m.
 5            Heather L. Kennedy
        9.    Dispositive Motions Filing Deadline                 February 12, 2026
 6
       10.    Daubert-Type Motions Filing Deadline                February 12, 2026
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       11.    In Limine Motion Filing Deadline                    May 14, 2026
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       12.    Joint proposed Pretrial Order Deadline              May 21, 2026
 9
       13.    Hearing on In Limine Motions                        June 18, 2026, at 9:00 a.m.
10     14.    Proposed Jury Instructions Filing Deadline          July 9, 2026
11            Final Pretrial Conference and Hearing on Jury July 23, 2026, at 9:00 a.m.
       15.    Instructions
12
       16.    Jury Trial                                          August 11, 2026, at 10:00 a.m.
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             The parties are reminded that this First Amended Scheduling Order “may be modified
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     only for good cause and with the judge’s consent.” Fed. R. Civ. P. 16(b)(4).

17           IT IS SO ORDERED this 10th day of February 2025.

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20                                                         RAMONA V. MANGLONA
                                                            Chief Judge
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